Case 3:21-cv-01980-CAB-JLB Document 18 Filed 12/06/21 PageID.523 Page 1 of 3



  1

  2

  3

  4

  5

  6

  7

  8                          UNITED STATES DISTRICT COURT
  9                 FOR THE SOUTHERN DISTRICT OF CALIFORNIA
  10
       PFIZER INC.,
  11                                                   Case No. 3:21-cv-01980-CAB-JLB
                                          Plaintiff,
  12                                                   ORDER REGARDING
                     - against -                       PRELIMINARY INJUNCTION
  13                                                   AND STAY OF PROCEEDINGS
       CHUN XIAO LI and DOES 1-5,
  14                                                   [Doc. No. 17]
                                       Defendants.
  15

  16         Presently before the Court is the parties’ Stipulation Regarding Preliminary
  17   Injunction and Stay of Proceedings (the “Stipulation”) (Dkt. 17), by which Plaintiff
  18   Pfizer Inc. (“Pfizer”) and Defendant Chun Xiao Li (“Li”) seek approval of the
  19   following stipulated terms:
  20         1.      Li agrees to abide by the Temporary Restraints imposed by the
  21   Court’s Order to Show Cause until the conclusion of this action, including the
  22   resolution of any appeals.
  23         2.      By December 6, 2021, Li will provide Pfizer’s outside counsel with
  24   attorneys-eyes-only access to (i) her personal email account(s) and Google Drive
  25   account(s), (ii) any and all computing devices or accounts in her possession,
  26   custody, and control on which she stored or has reason to believe she may have
  27   stored Pfizer confidential information or trade secrets (including the laptop that
  28

                                                 1
                  ORDER REGARDING PRELIMINARY INJUNCTION AND STAY OF PROCEEDINGS
                                                             21CV01980-CAB-JLB
Case 3:21-cv-01980-CAB-JLB Document 18 Filed 12/06/21 PageID.524 Page 2 of 3



  1    Ms. Li uses in her consulting work for Fulcrum Therapeutics, Inc., as well as any
  2    external hard drives or USB thumb drives), (iii) her personal mobile phone(s).
  3          3.       To the extent Pfizer’s outside counsel or its forensic vendor is
  4    provided access to any of Li’s information protected by the attorney-client
  5    privilege or the attorney work-product doctrine, such access will not result in a
  6    waiver of the privilege or work-product protection.
  7          4.       By December 29, 2021, Pfizer will use best efforts to (i) search for,
  8    identify, and/or remediate any Pfizer confidential information or trade secrets on
  9    the devices and accounts provided by Ms. Li, and (ii) return all devices and
  10   accounts to Ms. Li;
  11         5.       By December 29, 2021, Li will submit to Pfizer a sworn declaration
  12   attesting (i) that she has exercised best efforts to cooperate with Pfizer’s forensic
  13   investigation, including a summary of the facts regarding her cooperation, (ii) that
  14   she no longer possesses any Pfizer confidential information or trade secrets,
  15   (iii) that she has disclosed to Pfizer all accounts and devices that may have been
  16   used to transfer or store any Pfizer confidential information or trade secrets,
  17   including a summary of the facts regarding her use of each account or device to
  18   transfer and/or store Pfizer confidential information or trade secrets, and (iv) that
  19   she has disclosed all persons, if any, to whom she disclosed any Pfizer confidential
  20   information or trade secrets.
  21         6.       By January 5, 2021, the parties will advise the Court of the status of
  22   their negotiations and any need for further proceedings in this action. If any party
  23   believes that further proceedings in this action are required, the party shall so
  24   advise the Court and submit a proposed amended schedule governing such
  25   proceedings.
  26         7.       All proceedings and deadlines in this action are stayed until the parties
  27   advise the Court of the status of their negotiations and any need for further
  28

                                                   2
                  ORDER REGARDING PRELIMINARY INJUNCTION AND STAY OF PROCEEDINGS
                                                             21CV01980-CAB-JLB
Case 3:21-cv-01980-CAB-JLB Document 18 Filed 12/06/21 PageID.525 Page 3 of 3



  1    proceedings. Nothing herein is intended to preclude either party from seeking
  2    emergency relief from the Court while proceedings are stayed to the extent such
  3    relief becomes necessary to protect either party’s rights.
  4          8.      The parties agree and stipulate that all dates, scheduling, timing, and
  5    terms established by this Stipulation shall be without prejudice to any party’s
  6    claims or defenses and that the parties reserve their respective rights.
  7          9.      The terms of this Stipulation shall remain in effect from the date of its
  8    issuance until the Court issues an order on Pfizer’s Motion, the Stipulation is
  9    amended or superseded by a further order of this Court, or the action concludes,
  10   including the resolution of any appeals.
  11                                       *      *      *
  12         Having reviewed the materials submitted, the Court GRANTS the parties’
  13   Stipulation according to the stipulated terms above.
  14         IT IS SO ORDERED.
  15   Dated: December 6, 2021
  16

  17

  18

  19

  20

  21

  22

  23

  24

  25

  26
  27

  28

                                                  3
                  ORDER REGARDING PRELIMINARY INJUNCTION AND STAY OF PROCEEDINGS
                                                             21CV01980-CAB-JLB
